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                    UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                           SOUTHERN DIVISION



ALEC GLASSER et al.,                       No. SA CV 21-00661-DFM

          Plaintiffs,                      Order re: Defendant’s Motion in Limine
                                           (Dkt. 41)
             v.

JOHN B. BERZNER,

          Defendant.



                                  BACKGROUND
      This is a libel and tortious interference action that was removed to this
Court from the Orange County Superior Court. See Dkt. 1. It arises from
Defendant’s negative Yelp review of Plaintiffs’ supper club in Laguna Beach.
Before the Court is a motion in limine filed by Defendant Berzner. See Dkt. 41
(“Motion”). Plaintiffs have filed an opposition, see Dkt. 42 (“Opp’n”), and
Defendant a reply, see Dkt. 52.
                                  DISCUSSION
      The Motion seeks to exclude “any and all evidence, references to
evidence, testimony, or argument relating to Defendant’s experiences at The
Jonathan Club and The Grand Havana Room.” Motion at 1. He contends that
this evidence is “irrelevant, constitutes improper character evidence, and will
create a substantial danger of undue prejudice” to him. Id. at 2.
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      Plaintiffs argue that the evidence is relevant to Defendant’s mental state
when he wrote the negative Yelp review. See Opp’n at 3. They argue that if
Defendant wrote it with the mental state of malice, Plaintiff Glasser may
collect punitive damages. See id. Therefore, they argue that the evidence is
admissible to show Defendant’s “deeply ingrained habit of acting with boorish
impunity at nice dining clubs and then lashing out maliciously at anyone who
tries to reel him in.” Id. at 2; see also id. at 4-6.
      “Evidence of a person’s character or character trait is not admissible to
prove that on a particular occasion the person acted in accordance with the
character or trait.” Fed. R. Evid. 404(a)(1). More specifically, evidence of “any
other crime, wrong, or act is not admissible to prove a person’s character in
order to show that on a particular occasion the person acted in accordance
with the character.” Fed. R. Evid. 404(b)(1). However, “[e]vidence of a
person’s habit . . . may be admitted to prove that on a particular occasion the
person . . . acted in accordance with the habit.” Fed. R. Evid. 406. To decide
whether certain conduct constitutes habit, courts are guided by “three factors:
(1) the degree to which the conduct is reflexive or semi-automatic as opposed
to volitional; (2) the specificity or particularity of the conduct; and (3) the
regularity or numerosity of the examples of the conduct.” United States v.
Angwin, 271 F.3d 786, 799 (9th Cir. 2001), overruled on other grounds,
United States v. Lopez, 484 F.3d 1186 (9th Cir. 2007).
      The Court will exclude the contested evidence as improper character
evidence. Plaintiffs’ argument that it is admissible habit evidence is
unpersuasive. According to Plaintiffs’ summary, it covers five occasions over
at least 6 years in which Defendant made inappropriate or rude comments
toward staff when the food or service at an upscale club did not meet his
standards. See Opp’n at 5-6. The Court analyzes the conduct apparent from
this evidence with reference to the three factors enumerated in Angwin.


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      First, in each of the five occasions, Defendant’s conduct can only fairly
be characterized as volitional: (1) Defendant made a racist comment when a
table was unavailable; (2) Defendant expressed anger when asked to pay a
corkage fee; (3) Defendant complained about the temperature of his espresso
by making a sexual comment in earshot of a female server; (4) Defendant was
uncivil to a staff member who Defendant asked to dim the lights; and (5)
Defendant harassed staff members after being asked to leave because he took
wine without paying for it. See Opp’n at 5-6. To deny that this kind of conduct
is volitional would be to deny the existence of volition. Second, the conduct
described by this body of evidence is general, not specific. To the extent that
the five occasions can be grouped into a coherent whole, what connects them
is Defendant’s general boorishness, not that they all exemplify a repeated
specific reaction to a repeated specific situation. Third, examples of the
conduct are not regular or numerous; if one counts the occasion giving rise to
this action, they have occurred at a rate of only once per year. The Court will
exclude the evidence as improper character evidence. Accordingly,
Defendant’s Motion is GRANTED.1
      IT IS SO ORDERED.



Date: June 6, 2022                          ___________________________
                                            DOUGLAS F. McCORMICK
                                            United States Magistrate Judge



      1
        The Court expresses no opinion on whether the contested evidence—in
whole or in part—is relevant under Federal Rule of Evidence 401 or whether
its probative value may be substantially outweighed by a danger of unfair
prejudice. The resolution of those issues, if necessary, will be aided by the
development of testimony at trial.

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